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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-60125-CIV-SCOLA/GOODMAN


      JIANGMEN BENLIDA
      PRINTED CIRCUIT CO., LTD.,

                     Plaintiff,

      v.

      CIRCUITRONIX, LLC,

                Defendant.
      _________________________________/

             NOTICE OF FILING DEFENDANT CIRCUITRONIX LLC’S EXHIBITS
           INTRODUCED DURING THE JANUARY 13, 2023 EVIDENTIARY HEARING

            Defendant Circuitronix, LLC, through the undersigned counsel, files copies of its exhibits
  introduced in evidence during the January 23, 2003 hearing, pursuant to the Court’s order, ECF
  [123]. The following index lists Defendant’s exhibits being filed by exhibit number. Where
  applicable, the Plaintiff’s exhibit letter is also indicated.1



       PLF. DEF.                                 DESCRIPTION OF EXHIBITS
       NO. NO.
        A    1           Settlement Agreement and General Release
                         (Redacted per January 18, 2023 Order, ECF [130])

           B     2       Revised Manufacturing Agreement
                         (Redacted per January 18, 2023 Order, ECF [130])
                 3       Benlida’s Audited Financials
                         (Redacted per January 18, 2023 Order, ECF [130])
                 4       Benlida’s Quarterly Financials
                         (Redacted per January 18, 2023 Order, ECF [130])
                 5       Spreadsheets by CTX of Benlida’s Balance Sheet
                         (Redacted per January 18, 2023 Order, ECF [130]; see also Ex. 12A-D)


  1
   Where the Court ordered Plaintiff to file redacted copies of certain exhibits and those exhibits were the
  same underlying document as one of Defendant’s exhibits, Defendant is filing the redacted version that
  Plaintiff created, with an additional legend indicating Defendant’s exhibit number as well on the
  document.
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            6     Spreadsheet by CTX of Benlida’s Profit and Loss Data
                  (Redacted per January 18, 2023 Order, ECF [130]; see also Ex. 12A-D)

      PLF DEF
      NO. NO.                           DESCRIPTION OF EXHIBITS

            7     Email dated October 25, 2022 from JC Mazzola

            8     Draft of the Settlement Agreement (October 25, 2022)
                  (Redacted per January 18, 2023 Order, ECF [130])
            9     Email dated October 25, 2022 from Stephen Rosenthal

            10    Email dated October 26, 2022 from JC Mazzola

            11    Email dated November 9, 2022 from JC Mazzola

            12    Email dated November 17, 2022 from Chauncey Cole

           12-A   Excel Spreadsheet Entitled “Balance”
                  (Redacted per January 18, 2023 Order, ECF [130])
           12-B   Excel Spreadsheet Entitled “Inventory”
                  (Redacted per January 18, 2023 Order, ECF [130])
           12-C   Excel Spreadsheet Entitled “Fixed Assets”
                  (Redacted per January 18, 2023 Order, ECF [130])
           12-D   Excel Spreadsheet Entitled “Income Statement” (Profit & Loss)
                  (Redacted per January 18, 2023 Order, ECF [130])
           12-E   Excel File (digital format of Exhibits 12-A – 12-D) on USB drive
                  (to be filed conventionally)
       M    13    Email dated November 16, 2022 (7:26 p.m.) from Chauncey Cole to Jean-Claude
                  Mazzola
       N    14    Email dated November 17, 2022 (4:31 p.m.) from Chauncey Cole IV with
                  attached “Notice of Termination”
            15    Email dated November 17, 2022 from Chauncey Cole with draft of joint motion

       P    16    Email dated November 21, 2022 from Chauncey Cole

            17    Email dated November 17, 2022 from JC Mazzola

       Q    18    Email dated November 22, 2022 from Chauncey Cole

            19    Email dated November 14, 2022 from Celin Astudillo
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      PLF DEF
      NO. NO.                          DESCRIPTION OF EXHIBITS

            20   Email dated November 22, 2022 from JC Mazzola

            21   Declaration of Huang Hanchao

            22   Declaration of Jean-Claude Mazzola

            23   Plaintiffs Jiangmen Benlida Printed Circuit Co., Ltd. and ROK Printed Circuit
                 Co., Ltd.’s Memorandum of Law in Opposition to Defendant’s Motion to
                 Dismiss the Third Amended Complaint
            24   Email dated June 1, 2022 from Chauncey Cole including Mediation Term Sheet

            25   Final Mediation Report

            26   Email dated October 26 from JC Mazzola attaching Settlement Agreement
                 redline
            27   Email dated June 9, 2022 from Chauncey Cole attaching draft Settlement
                 Agreement and Manufacturing Agreement
                 (Redacted to be consistent with January 18, 2023 Order, ECF [130])
            28   Email dated June 22, 2022 from JC Mazzola attaching draft Settlement
                 Agreement
            29   Email dated July 1, 2022 from Chauncey Cole

       J    30   Email dated November 7, 2022 from JC Mazzola

            31   Email dated March 3, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00000979-983)
            32   Email dated March 7, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00001147-1150)
            33   Email dated March 8, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00001327)
            34   Email dated March 21, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00002196-2202)
            35   Email dated May 14, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00001152)
            36   Email dated September 23, 2016 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00002173)
            37   Email dated March 21, 2017 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00002070)
            38   Email dated April 26, 2017 from Huang Sulan (aka “Tracy”) (Bates No.
                 CTX_00003519-3520)
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       PLF DEF
       NO. NO.                               DESCRIPTION OF EXHIBITS

              39     Email dated April 27, 2018 from Huang Sulan (aka “Tracy”) (Bates No.
                     CTX_00002010)


  Dated: January 23, 2023


                                        Respectfully submitted,

          PODHURST ORSECK, P.A.                         CHAUNCEY COLE, PA
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

  Notices of Electronic Filing generated by CM/ECF on January 23, 2023 as filed with the Clerk of the

  Court using CM/ECF.

                                                              By: /s/ Stephen F. Rosenthal
                                                                      Stephen F. Rosenthal
